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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS

DAVID SLYDER                                 §
                                             §
               Plaintiff,                    §    Civil Action No. 6:21-cv-00533-ADA-JCM
                                             §
               v.                            §
                                             §
WESTLAKE SERVICES, LLC d/b/a                 §
WESTKAKE FINANCIAL                           §
                                             §
               Defendant.                    §
                                             §


                                 STIPULATION TO DISMISS


TO THE CLERK:

       Pursuant to Rule 41(a)(1)(A)(ii), counsel for all parties hereto stipulate to the dismissal

with prejudice and with each party to bear its own costs and fees.



  /s/ Virginia Bell Flynn                             /s/ Amy L. Bennecoff Ginsburg
   Virginia Bell Flynn #24101258                      Amy L. Bennecoff Ginsburg Esq.
   Troutman Pepper Hamilton Sanders LLP               Kimmel & Silverman, P.C.
   One Wells Fargo Center                             30 East Butler Pike
   301 S. College Street, Suite 3400                  Ambler, PA 19002
   Charlotte, NC 28202                                Phone: (215) 540-8888
   Phone: (704) 988-4050                              Fax: (215) 540-8817
   Email:virginia.flynn@troutmansanders.com           Email: aginsburg@creditlaw.com
   Attorney for the Defendant                         Attorney for the Plaintiff

   Date: September 16, 2021                           Date: September 16, 2021
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                              CERTIFICATE OF SERVICE

      I, Amy L. Bennecoff Ginsburg, Esquire, do certify that I served a true and correct copy of

the Stipulation of Dismissal in the above-captioned matter, upon the following via CM/ECF

system:

  Virginia Bell Flynn #24101258
  Troutman Pepper Hamilton Sanders LLP
  One Wells Fargo Center
  301 S. College Street, Suite 3400
  Charlotte, NC 28202
  Phone: (704) 988-4050
  Email:virginia.flynn@troutmansanders.com
  Attorney for the Defendant


DATED: September 16, 2021                  /s/ Amy L. Bennecoff Ginsburg
                                           Amy L. Bennecoff Ginsburg Esq.
                                           Kimmel & Silverman, P.C.
                                           30 East Butler Pike
                                           Ambler, PA 19002
                                           Tel: 215-540-8888
                                           Fax: 215-540-8817
                                           Email:aginsburg@creditlaw.com
                                           Attorney for Plaintiff
